                           UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF NEW MEXICO
                                ALBUQUERQUE DIVISION

In re:                                                      Case No. 19-11481 TA
         JAMES D. CHIARAMONTE, JR.

                    Debtor(s)


CHAPTER 13 STANDING TRUSTEE’S AMENDED FINAL REPORT AND ACCOUNT

        Tiffany M. Cornejo, chapter 13 trustee, submits the following Final Report and Account
of the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as
follows:

         1) The case was filed on 06/20/2019.

         2) The plan was confirmed on NA .

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

     4) The trustee filed action to remedy default by the debtor in performance under the plan
on NA .

         5) The case was converted on 10/07/2019.

         6) Number of months from filing to last payment: 3.

         7) Number of months case was pending: 7.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $44,733.00.

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have not cleared the bank .




UST Form 101-13-FR-S (09/01/2009)


 Case 19-11481-t7         Doc 42     Filed 01/13/20      Entered 01/13/20 08:52:40 Page 1 of 4
Receipts:

         Total paid by or on behalf of the debtor                        $1,731.00
         Less amount refunded to debtor                                  $1,731.00

NET RECEIPTS:                                                                                                   $0.00


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                                            $0.00
    Court Costs                                                                      $0.00
    Trustee Expenses & Compensation                                                  $0.00
    Other                                                                            $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                                               $0.00

Attorney fees paid and disclosed by debtor:                            $106.31


Scheduled Creditors:
Creditor                                               Claim           Claim         Claim       Principal       Int.
Name                                         Class   Scheduled        Asserted      Allowed        Paid          Paid
1st Progress/1st Equity                  Unsecured         194.00             NA           NA            0.00        0.00
Aiken Regional Medical Center            Unsecured         163.00             NA           NA            0.00        0.00
Amber Chiaramonte                        Unsecured           0.00      26,159.00     26,159.00           0.00        0.00
Amber Chiaramonte                        Priority            0.00      83,399.88     83,399.88           0.00        0.00
AMERICAN CREDIT ACCEPTANCE               Secured       18,773.00       18,403.94     18,403.94           0.00        0.00
Ascendium Education Solutions Inc.       Unsecured            NA            79.01        79.01           0.00        0.00
Capital One Auto Finance                 Secured       21,900.00              NA           NA            0.00        0.00
Cavalry SPV I, LLC                       Unsecured      3,886.00         3,886.92     3,886.92           0.00        0.00
Deutsche Bank National Trust Company     Unsecured          78.00             NA           NA            0.00        0.00
DISCOVER BANK                            Unsecured      1,895.00         1,894.76     1,894.76           0.00        0.00
Feb-Retail                               Unsecured      4,858.00              NA           NA            0.00        0.00
Ford Motor Credit Company, LLC           Unsecured     26,159.00              NA           NA            0.00        0.00
Ford Motor Credit Company, LLC           Unsecured     21,953.00              NA           NA            0.00        0.00
GBS/First Electronic B                   Unsecured      4,858.00              NA           NA            0.00        0.00
Georgia Dept of Revenue Compliance Div   Priority       2,200.00         3,855.76     3,855.76           0.00        0.00
Internal Revenue Service                 Priority       7,000.00       43,760.63     43,760.63           0.00        0.00
Internal Revenue Service                 Unsecured           0.00      27,924.54     27,924.54           0.00        0.00
Laboratory Corp of America               Unsecured           0.00             NA           NA            0.00        0.00
Midland Credit Management Inc.           Unsecured            NA         2,305.76     2,305.76           0.00        0.00
Navient Attn: Bankruptcy Unit            Unsecured      6,625.00              NA           NA            0.00        0.00
NEW MEXICO TAXATION & REVENU             Priority       1,800.00         2,000.00     2,000.00           0.00        0.00
NEW MEXICO TAXATION & REVENU             Secured             0.00        1,857.45     1,857.45           0.00        0.00
NEW MEXICO TAXATION & REVENU             Unsecured           0.00        2,000.00     2,000.00           0.00        0.00
PORTFOLIO RECOVERY ASSOCIATES            Unsecured      1,164.00         1,022.14     1,022.14           0.00        0.00
PORTFOLIO RECOVERY ASSOCIATES            Unsecured      2,842.00         2,641.61     2,641.61           0.00        0.00
Quantum3 Group LLC as agent for          Unsecured            NA         3,102.23     3,102.23           0.00        0.00
RESURGENT CAPITAL SERVICES               Unsecured      2,306.00         1,168.15     1,168.15           0.00        0.00
Santander Consumer USA                   Secured       18,654.00       19,096.96     19,096.96           0.00        0.00
SYNCB                                    Unsecured      1,650.00              NA           NA            0.00        0.00
TD Bank                                  Unsecured         443.00             NA           NA            0.00        0.00
U.S. Department of HUD                   Secured              NA       19,535.36     19,535.36           0.00        0.00



UST Form 101-13-FR-S (09/01/2009)


 Case 19-11481-t7             Doc 42          Filed 01/13/20        Entered 01/13/20 08:52:40 Page 2 of 4
Scheduled Creditors:
Creditor                                                Claim           Claim         Claim        Principal       Int.
Name                                          Class   Scheduled        Asserted      Allowed         Paid          Paid
United Mortgage Corp                      Secured             0.00        2,911.85      2,911.85           0.00        0.00
United Mortgage Corp                      Secured      253,537.00      250,019.66    250,019.66            0.00        0.00
United Mortgage Corp                      Secured             0.00          231.02        231.02           0.00        0.00
Urgent MD, LLC                            Unsecured          82.00             NA            NA            0.00        0.00
Verizon by American InfoSource as agent   Unsecured            NA           428.31        428.31           0.00        0.00


Summary of Disbursements to Creditors:
                                                                        Claim            Principal                Interest
                                                                      Allowed                Paid                    Paid
Secured Payments:
      Mortgage Ongoing                                          $269,555.02                   $0.00                $0.00
      Mortgage Arrearage                                          $2,911.85                   $0.00                $0.00
      Debt Secured by Vehicle                                    $37,500.90                   $0.00                $0.00
      All Other Secured                                           $2,088.47                   $0.00                $0.00
TOTAL SECURED:                                                  $312,056.24                   $0.00                $0.00

Priority Unsecured Payments:
       Domestic Support Arrearage                                $83,399.88                   $0.00                $0.00
       Domestic Support Ongoing                                       $0.00                   $0.00                $0.00
       All Other Priority                                        $49,616.39                   $0.00                $0.00
TOTAL PRIORITY:                                                 $133,016.27                   $0.00                $0.00

GENERAL UNSECURED PAYMENTS:                                      $72,612.43                   $0.00                $0.00


Disbursements:

          Expenses of Administration                                            $0.00
          Disbursements to Creditors                                            $0.00

TOTAL DISBURSEMENTS :                                                                                             $0.00




UST Form 101-13-FR-S (09/01/2009)


 Case 19-11481-t7               Doc 42         Filed 01/13/20        Entered 01/13/20 08:52:40 Page 3 of 4
       12) The trustee certifies that the foregoing summary is true and complete and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests that the trustee be discharged and granted such relief as may be just and proper.

Dated: 01/13/2020                             By:/s/ Tiffany M. Cornejo
                                                                     Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




UST Form 101-13-FR-S (09/01/2009)


 Case 19-11481-t7         Doc 42      Filed 01/13/20      Entered 01/13/20 08:52:40 Page 4 of 4
